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                     EXHIBIT 5
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                                                                                                 Wilson Sonsini Goodrich & Rosati
                                                                                                 Professional Corporation
                                                                                                 633 West Fifth Street
                                                                                                 Suite 1550
                                                                                                 Los Angeles, California 90071-2027
                                                                                                 O: 323.210.2900
                                                                                                 F: 866.974.7329



      EDWARD G. POPLAWSKI
      Internet: epoplawski@wsgr.com
      Direct dial: 323.210.2901




                                                            April 22, 2020


      Via E-Mail and Certified Mail – Return Receipt Requested

      John Honovich
      President
      IP Video Market Info Inc.
      3713 Linden Street, Suite B
      Bethlehem, Pennsylvania 18020
      john@ipvm.com

      John Honovich
      225 Snake Lake
      Kinzers, Pennsylvania 17535

               Re:       IP Video Market Info Inc. Unfair Competition

      Dear Mr. Honovich:

             This Firm represents Royal Holdings Technologies Corp. d/b/a X.Labs, which has
      developed the Feevr system, a proprietary artificial intelligence (“AI”)-based system for
      performing a preliminary scan to screen and detect individuals who have an elevated forehead
      skin temperature. The Feevr system includes an AI-based mobile app integrated into a
      smartphone connected to a thermal imaging camera which acquires a thermal image. The mobile
      app processes the image and determines whether an individual’s forehead skin temperature
      exceeds a predetermined threshold.

              It has come to our attention that on March 31, 2020, IP Video Market Info Inc. (“IPVM”)
      published an article by Ethan Ace on its website, entitled “USA’s Feevr Thermal System
      Examined.” In this article (copy attached), IPVM asserted that it “spoke with the company and
      examined its claims[,] including” “[t]echnical design,” “[l]ow pricing,” and “[a]ccuracy.” The
      March 31, 2020 article characterized X.Labs’ descriptions and marketing of the Feevr system as
      misleading and claimed that the Feevr system “does not appear to work consistently” and “false
      positives and negatives are highly likely” when using it. The article also indicates that the accuracy
      of the Feevr system is “only ±3°C (~5.4°F)” on the sole basis that “the FLIR One Pro specifies
      accuracy of only ±3°C (~5.4°F),” while characterizing X.Labs’ description of accuracy as “one
      vague claim of being within 0.4°F (0.2°C) of an ‘FDA approved temperature gun.’” Moreover, the
      March 31, 2020 article asserts that “the script of one of Feevr’s marketing videos is mostly stolen

#11528629_1.DOCX

            AUSTIN    BEIJING    BOSTON      BRUSSELS     HONG KONG      LONDON    LOS ANGELES     NEW YORK        PALO ALTO
                     SAN DIEGO        SAN FRANCISCO     SEATTLE     SHANGHAI   WASHINGTON, DC     WILMINGTON, DE



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 from a FLIR post titled Thermal Imaging for Detecting Elevated Body Temperature.” (emphasis
 added). An “update” in the March 31, 2020 article, ostensibly published after the article was
 initially posted, states that X.Labs told IPVM that it has an agreement with Flir and that Flir
 “responded, denying Feevr’s claims.” In support, IPVM refers to a “FLIR SDK License
 Agreement” that does not even identify X.Labs. In still another “update,” the article then
 acknowledges X.Labs’ statement that “Feevr doesn’t use the FLIR SDK. Feevr uses it’s [sic] own
 custom app with a FLIR camera.”

         As you are aware, X.Labs has objected to these statements and others in the March 31,
 2020 article as false, misleading, defamatory, and deceptive and as unlawful interference with its
 customer and supplier relationships. X.Labs has also demanded that IPVM publicly retract and
 disavow the article and cease its wrongful conduct. We also understand that, in connection with
 publishing this article, IPVM declined X.Labs’ offer to provide a unit of its Feevr system to IPVM
 for analysis and that IPVM did not request any technical documentation from X.Labs as to the
 system. Instead, the article selectively uses “Feevr’s own demonstration videos,” from which the
 article concludes that “the camera’s face detection does not appear to work consistently, with
 some subjects not properly detected until they are nearly out of the scene.”

        Thereafter, IPVM published another article on April 14, 2020 written by you, entitled
 “Beware of Feevr,” in which IPVM asserts that “[t]he company is marketing a ‘Feevr’ solution that
 fundamentally lacks accuracy for its use, as its thermal provider FLIR has said and IPVM testing
 has shown.” (emphasis added). These statements are false, and IPVM has yet to provide any
 corroboration of its claimed testing.

         The April 14, 2020 article (copy attached) continues the false narrative that the Feevr
 system “pose[s] risks to the public.” Specifically, the article falsely claims that the FLIR One Pro
 used with the Feevr system “perform[s] inaccurately for human temperature detection” and “is
 10x less accurate than” FDA approved thermal guns. Further, the April 14, 2020 article
 mischaracterizes examples of the Feevr system’s imaging results as exhibiting an “alarming”
 “sharp divergence in temperatures,” showing people “evidently dying of hypothermia or
 inaccuracy in measurement,” and “typical for Feevr’s demos.” IPVM misleadingly describes the
 accuracy of the Feevr system as “nowhere close enough to the precision needed to determine the
 fine differences between ‘normal’ body temperatures ~98°F and ‘fevers’ at ~100°F.” These
 misleading and deceptive statements fail to take into account that the Feevr system detects skin
 temperature, not body temperature, and that a number of variables could impact the accuracy of
 surface skin measurement, as discussed prominently on the Feevr system website. In addition,
 the April 14, 2020 article misleadingly states that “Feevr has no FDA approval for this device”
 when the Feevr system specification itself affirmatively indicates that it is not FDA approved.
 Further, the April 14, 2020 article claims multiple times that IPVM requested information about
 the Feevr system and that X.Labs did not provide such information. This is false. As noted above,
 IPVM declined X.Labs’ offer to provide a unit of the Feevr system and failed to request any
 technical documentation from X.Labs regarding the Feevr system. Finally, the April 14, 2020
 article personally attacks X.Labs’ founder, Barry Oberholzer, through improper, irrelevant, false,
 misleading, and deceptive statements about prior allegations and charges that, as you are aware,
 have been dropped.




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         Subsequently, IPVM has amplified its wrongful conduct with an April 17, 2020 article
 written by Charles Rollet, entitled “FDA ‘Does Not Intend to Object’ To Unapproved Fever
 Detection Cameras.” This article begins with a statement that the “FDA has declared it will not
 go after the many companies marketing unapproved fever detection cameras during the
 coronavirus public health emergency, even though it does consider these products medical
 devices.” This article (copy attached) outrageously smears X.Labs as among the “Dubious
 Companies” that the FDA has “Rewarded.” The article sets forth a list of purported “Problems”
 with the Feevr system without disclosing that IPVM declined to accept a unit of this system when
 offered. In particular, the article falsely and misleadingly states: “Feevr is also using the wrong
 kind of camera and when IPVM reported this, they threatened legal action and made false
 allegations against us . . . The fact that the FDA has (temporarily) given carte blanche to these
 unregulated products is a big boost for such firms. But it presents a risk to the public, since often
 these companies are totally new entrants to the thermal field and do not offer the right kind of
 camera, setup advice, etc. This could lead to many false positives/negatives and poor
 implementation.”

        IPVM’s above conduct constitutes, among other things, false, deceptive, and misleading
 statements about X.Labs’ commercial activities; trade libel and disparagement; infliction of
 reputational and business harm; and intentional, reckless, and negligent interference with
 X.Labs’ contractual and customer relations and with its prospective economic advantage and
 business under federal and state laws. If IPVM does not promptly cease and desist such conduct
 and take the remedial and other actions requested below, X.Labs will be left with no recourse but
 to seek appropriate enforcement of its legal rights. This enforcement will include seeking
 injunctive relief and damages, including punitive damages, through the courts.

        On behalf of X.Labs, we demand that IPVM promptly do the following and provide us with
 its prompt written assurances to this effect:

               Confirm in writing that it has ceased and desisted writing or publishing any and all
                articles containing any false, misleading, deceptive, or defamatory statements
                about X.Labs or its Feevr system, as well as any articles which review or assess or
                otherwise characterize the Feevr system without the explicit advance written
                approval and authorization of X.Labs;

               Issue a public retraction of the aforementioned articles which is prominently
                published on IPVM’s website and subject to X.Labs’ advance review and approval
                and which explicitly acknowledges the falsehoods, deceptions, and defamations;

               Identify in writing (including name, address, telephone number, and e-mail
                address) any entity that has paid a subscription fee or other money to IPVM to
                support the writing and publication of any of the aforementioned articles,
                including any competitor of X.Labs, or who has suggested or requested that IPVM
                write any article on the Feevr system;




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              Identify in writing (including name, address, telephone number, and e-mail
               address) every individual at FLIR with whom IPVM has communicated concerning
               the Feevr system and any of the aforementioned articles;

              Identify with specificity in writing any and all third parties (including name,
               address, telephone number, and e-mail address) from whom IPVM acquired any
               information for any of the aforementioned articles;

              Explain the circumstances under which IPVM first learned of the Feevr system,
               including the identities of any third parties that brought the Feevr system to
               IPVM’s attention and why;

              Identify all third parties with whom IPVM has a subscriber or other relationship
               who make, sell, or market any products in competition with X.Labs, notably,
               X.Labs’ Sword or Feevr systems;

              Provide any and all information, including any documentation, as to any tests or
               analyses that IPVM or any entity on IPVM’s behalf has done on the Feevr system
               and set forth IPVM’s credentials and experience that it believes qualifies it to
               reliably and accurately test and evaluate the Feevr system;

              Explain IPVM’s failure to acquire and use the Feevr system, including the mobile
               app, in connection with any testing or assessment of the Feevr system;

              Set forth in detail the employment or other relationship between IPVM and all
               authors of the aforementioned articles (notably, Messrs. Ace, Rollet, and
               Honovich), including their credentials and experience, if any, which qualify them
               to review the Feevr system; and

              Provide in writing a complete and accurate accounting of the identities and the
               number of individuals and businesses (including name, address, telephone
               number, and e-mail address) which have accessed any of the aforementioned
               March 31, 2020, April 14, 2020, and April 17, 2020 articles, whether as subscribers
               or otherwise.

        Absent IPVM’s prompt compliance with the above demands, X.Labs will proceed
 accordingly.




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                                                 Very truly yours,

                                                 WILSON SONSINI GOODRICH & ROSATI
                                                 Professional Corporation

                                                 /s/ Edward G. Poplawski

                                                 Edward G. Poplawski

 Enclosures (3).

 cc:    Barry Oberholzer
        Royal Holdings Technologies Corp. d/b/a X.Labs
        Chief Executive Officer




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                                                                       https://ipvm.com/reports/feevr




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                                                              https://ipvm.com/reports/feevr2

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☰


         FDA "Does Not Intend to Object" To
         Unapproved Fever Detection Cameras
         By: Charles Rollet, Published on Apr 17, 2020 |   Email This


           Barry, email this to...

               Send



         The US FDA has declared it will not go after the many companies
         marketing unapproved fever detection cameras during the
         coronavirus public health emergency, even though it does consider
         these products medical devices, it has announced in new guidance.




         The guidance comes after weeks of uncertainty about the legal status
         of these products, which traditionally require FDA 510(k) clearance
         prior to being marketed/sold. But that has not stopped numerous
          rms from touting unapproved cameras as they cash in on a
         pandemic-induced Gold Rush.

         However, in order to "help address urgent public health concerns", the
         FDA is now saying it "does not intend to object" to the distribution of
         unapproved fever detection cameras, although this leniency will
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         "remain in e ect only for the duration of the [COVID-19] public health
☰        emergency".

         In this note, IPVM examines this new announcement and its impacts
         closely, including:

              Background: FDA Regulation of Fever Screening Cameras
              FDA New Thermal Camera Enforcement Policy Announced
              FDA Reasoning: Fighting Shortage
              Policy Only Temporary
              Fever Cams Still Medical Devices
              Winner Dahua, Loser Hikvision
              Other Winners And Losers
              New Entrants
              Risk of Shoddy Products Spreading

         Background: FDA Regulation of Fever Screening Cameras

         As IPVM reported last month, the FDA considers body temp screening
         cams (paired with a thermometer to con rm the fever) to be medical
         devices, technically a "Telethermographic system intended for
         adjunctive diagnostic screening". These require FDA 510(k) clearance
         before being marketed, a process that takes around 130 days.

         FDA Announces It Won't Enforce Its Own Regulations

         However, the FDA announced new guidance yesterday (April 16)
         stating it will temporarily "not intend to object" to those selling such
         cameras without 510(k) clearance:

             To help ensure the availability of products that might o er
             bene t to health care providers and the general public during the
             public health emergency, FDA does not intend to object to the
             distribution and use of telethermographic systems intended for
             initial body temperature assessment for triage use [emphasis
             added]

         The FDA has released a 10-page enforcement policy labeled 'contains
         nonbinding recommendations':




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         FDA Reasoning: Fighting Shortage

         The FDA said it is doing this as it wants to address the shortage of
         such devices:

             FDA believes the policy set forth in this guidance may help address
             urgent public health concerns raised by shortages of temperature
             measurement products by helping to clarify the regulatory
             landscape and expand the availability of telethermographic
             systems used for initial body temperature measurements for
             triage use during this public health emergency. [emphasis added]

         Policy Only Temporary

         The FDA emphasized that this guidance is temporary:

             This policy is intended to remain in e ect only for the duration of
             the public health emergency related to COVID-19 declared by
             HHS

         There is no indication of when HHS will declare COVID-19 to no longer
         be a public health emergency; yesterday, an-all time high of over
         2,400 Americans died from the virus and over 500,000 have tested
         positive so far.

         The last US public health emergency was Swine Flu, which lasted well
         over a year - it was declared in April 2009 and ended in June 2010.
         Given COVID-19's greater impact, it will likely last at least as long, if
         not signi cantly longer.

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         Fever Cams Considered Medical Devices
☰
         Despite some companies falsely claiming their fever cameras are
         somehow not medical devices, in this guidance, the FDA clearly states
         that it does consider these products medical devices and under its
         regulatory purview:

             Telethermographic systems are devices when they are intended
             for a medical purpose, such as measurement of the self-
             emanating infrared radiation that reveals the relative
             temperature variations of the surface of the body

             Generally, telethermographic systems fall within the de nition of
             a device when they are intended for a medical purpose

         This means that companies selling these systems will still need 510(k)
         clearance to sell fever detection cameras once the pandemic is over.
         However, the money for them is likely to be made in the immediate
         future.

         FDA Recommendation: Only Use With Thermometer

         While the FDA said that 510(k) clearance is temporarily waived, it did
         state this was as long as the cameras are for "triage use", i.e. the
         cameras are paired with a body thermometer to con rm whether the
         person actually has a fever:

             An elevated body temperature measurement is con rmed in the
             context of use with secondary evaluation methods (e.g., non-
             contact infrared thermometer (NCIT) or clinical grade contact
             thermometer)

         FDA Testing/Labeling Recommendations

         The FDA also recommended the fever cams are "tested and labeled
         consistent with the following ISO standard: IEC 80601-2-59:2017" or
         any "alternative performance speci cations that provide similar
         results to IEC 80601-2-59:2017".

         The FDA recommended thermal cams are tested under following
         "performance speci cations" including "measurement uncertainty, is
         less than or equal to ±0.5°C (±0.9°F) over the temperature range of at
         least 34-39°C (93.2-102.2°F)".


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         FDA Recommends Cameras Only Used One Person at A Time
☰
         The FDA recommended:

             should be used to measure only one subject’s temperature at a
             time

         The recommendation about only measuring one person's temp at a
         time goes against some rms, like Sunell's Panda Cam, which tout
         simultaneous fever detection:




         For example, ADI yesterday sent an email saying that WatchNet
         (Sunell relabeller) can (impossibly) detect 16 people in 1/33 of a
         second:

             WatchNET’s Body Temperature Detection System can detect 16
             people’s temperature within 30 milliseconds

         Prominent Notice Labelling

         The FDA says that a 'prominent notice' should be included, explaining:

             The labeling includes a prominent notice that the measurement
             should not be solely or primarily relied upon to diagnose or
             exclude a diagnosis of COVID-19, or any other disease;

         IPVM has mocked up such a notice:




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         Long List of Label Recommendations

         Moreover, the FDA gave many other label recommendations that
         should be on the devices in order for users to "better understand the
         device":




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         How or where this long list of labeling should be applied is not made
         clear. We asked the FDA for feedback and will update with their
         response.

         Recommendations Nonbinding

         Despite this long list of recommendations, the FDA states it its advice
         is not enforceable or required:

             In general, FDA’s guidance documents, including this guidance,
             do not establish legally enforceable responsibilities. Instead,
             guidances describe the Agency’s current thinking on a topic and
             should be viewed only as recommendations, unless speci c
             regulatory or statutory requirements are cited. The use of the

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             word should in Agency guidance means that something is
☰            suggested or recommended, but not required. [emphasis added]

         Risk: Dubious Companies Rewarded

         There has been an explosion in rms touting unregulated coronavirus-
         detection camera solutions. IPVM has counted 49 companies now
         o ering such solutions, of which only a few have 510(k) clearance.
         Problems included:

              Athena Security faked its coronavirus marketing and is using the
              wrong kind of camera
              Feevr is also using the wrong kind of camera and when IPVM
              reported this, they threatened legal action and made false
              allegations against us
              Dahua also faked its coronavirus marketing

         The fact that the FDA has (temporarily) given carte blanche to these
         unregulated products is a big boost for such rms. But it presents a
         risk to the public, since often these companies are totally new
         entrants to the thermal eld and do not o er the right kind of
         camera, setup advice, etc. This could lead to many false
         positives/negatives and poor implementation.

         Analysis: Dahua Winner, Hikvision Winner But Less So

         Neither Dahua nor Hikvision had FDA clearance for their thermal
         products going into this crisis. But Dahua decided to aggressively
         push fever detection anyway, even faking its marketing, while
         Hikvision took the more cautious path and avoided doing so in the US
         (it touts these products internationally, though).

         But thanks to this new FDA guidance, Dahua's riskier bet is now
         looking like a huge winner. The thermal camera market has exploded
         thanks to the pandemic, with end users frantically seeking to protect
         clients in any way they can, and Dahua now has a big edge.

         Approved Lose Somewhat

         FLIR, Optotherm, and all the other established manufacturers who
         make FDA-cleared fever screening cameras have lost a signi cant
         selling point for their products: that they are the only government-
         approved game in town. On the other hand, those companies have

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         signi cant backlogs in orders so they are still selling out of everything
☰        they can make and clearly getting a big boost from this.

         Downside: Encouraging Bad Practices

         On the downside, the FDA's new guidance will result in even more
         dubious thermal solutions being touted, and allow the fever cam Gold
         Rush to accelerate. Poorly-implemented solutions will likely cause
         false negatives/positives, leading to unnecessary harassment for
         regular people. Meanwhile, many will rush to buy the cheapest
         solution or the one with slickest marketing or simply what they can
         actually nd available.

         Another major issue is what will happen when the pandemic is over
         and the FDA once again requires 510(k) clearance for such solutions.
         Though, many of these systems may be abandoned by that time
         anytime.

         Upside: Clarity Finally Here, More Companies Can Enter

         On the plus side, the FDA's new guidance does o er clarity to a
         previously fraught situation. Many companies were declining to enter
         the market due to legal risks. Now, they can join which might help
         expand options.

         Poll / Vote



          How much would you like to see fever detection
          cameras used at sites you visit?
          108 votes | results
          Results for users:

          Restrict to segment:

          Closes at:
            Very     Moderately   Not Very




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☰         Integrators, how interested are you in selling fever
          detection cameras?
          81 votes | results
          Results for users:

          Restrict to segment:

          Closes at:
            Very     Moderately     Not Very




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         COMMENTS (12)




            Post Undisclosed        Subscribe to comments on this report
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         Undisclosed Integrator #1               Reply

         3 days ago


             fever cam Gold Rush

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         Stole my phrase but left out the reference to Fool's gold :(
☰
             Reply     Agree: 3     Disagree        Informative     Unhelpful    Funny: 1




         Undisclosed Manufacturer #2                      Reply

         3 days ago


         It seems that today at the o ce of Athena Security they will open the
         champagne, and Fever's CEO will buy himself another tiger! FDA
         made an incredible gift to all crooks!

             Reply     Agree: 7     Disagree        Informative     Unhelpful    Funny: 3




         Undisclosed #3           Reply

         3 days ago


         Get ready for the onslaught of just absolute crap products. It was
         already bad enough with integrators who did not understand the
         technicalities of how remote temp sensing works being misled by
         fraudsters. Now I predict a wave of products being installed that in
         the end will be completely worthless for the intended purposes. This
         will be like video analytics circa 2004 with big purchases and even
         bigger disappointments.

             Reply     Agree: 2     Disagree        Informative     Unhelpful    Funny




         Malcolm Rutherford               Reply

         3 days ago


         They might not be going to object, but you can still get in trouble for
         telling porkies [that would be lies for my American compatriots]

         Tampa-based company suspended from trading by SEC

             Reply     Agree      Disagree        Informative     Unhelpful     Funny




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         Undisclosed #4
☰
                                         Reply

         3 days ago


         Dahua has been preparing for the Gold Rush for some time:




             Reply       Agree       Disagree        Informative     Unhelpful     Funny: 4




         Sean Huver              Reply

         Defendry | 3 days ago


              An elevated body temperature measurement is con rmed in the
              context of use with secondary evaluation methods (e.g., non-
              contact infrared thermometer (NCIT) or clinical grade contact
              thermometer)

         Well this logic seems pretty rock solid. You may as well use psychics
         or divining rods as the rst line of defense.

             Reply       Agree: 1         Disagree     Informative     Unhelpful     Funny: 1




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                  Sean Nelson
☰
                                                   Reply

                  Nelly's Security
                  3 days ago


         After these things enter the market, get ready for a shortage of
         cowbell:


                    Ive Got A Fever And The Only Prescription Is More Co…
                                                                      Co…




             Reply       Agree        Disagree      Informative      Unhelpful     Funny: 4




         Scott Brothers                   Reply

         2 days ago


         Exclusive: Amazon deploys thermal cameras at warehouses to scan
         for fevers faster - Reuters

             Reply       Agree        Disagree      Informative: 2     Unhelpful     Funny




                      Evan Steiner                Reply

                      | 9 hours ago


            The article does not say which manufactures are being used, but
            uses an eyewitness account of an employee.

            "Amazon did not disclose whose gadgets it was using. One of the
            employees, at a warehouse outside Seattle, said the technology

                                                      Exhibit 5
                                                      Page 132
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            came from Infrared Cameras Inc in Texas"
☰
            I'm told that Amazon is using other brands as well. Anyone have
            knowledge?
            Also interested in what Walmart is using.

                 Reply      Agree: 1     Disagree         Informative    Unhelpful     Funny




         Undisclosed End User #5                      Reply

         20 hours ago


         Well this just gets better and better. How any I going to convince the
         executives to resist the snake oil if the FDA won't enforce its own
         rules. Now when I say the $2000 camera is a dangerous choice and
         the 10K plus cameras are necessary to do this properly I have no
         backing from the US gov't.

             Reply       Agree: 4     Disagree        Informative     Unhelpful     Funny: 1




         Undisclosed Integrator #6                      Reply

         19 hours ago


         Tell 'em their made in Wuhan.

             Reply       Agree      Disagree      Informative       Unhelpful: 1    Funny: 1




                  Jorge Lozano                Reply

                  Condortech Services, Inc.
                  10 hours ago


         The setting and installation of these types of cameras, can be very
         challenging in order to get good reading from them; since it all
         depends of the environment where the camera will be installed.

             Reply       Agree      Disagree      Informative       Unhelpful      Funny




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         MOST RECENT INDUSTRY REPORTS

                           Camio Presents Coronavirus Social Distancing
                           Analytics on Apr 20, 2020
                           Camio presented its social distancing analytics for
                           responding to coronavirus at the April 2020 IPVM
                           New Products show. Inside this report: A...



                           Cobalt Robots Respond To Coronavirus on Apr 20,
                           2020
                           Startup Cobalt Robotics is responding to
                           coronavirus with new features including integrated
                           elevated body temperature screening, PPE and
                           social...



                           Bottom: Integrators Start To Stand Vs Coronavirus
                           on Apr 20, 2020
                           Good news - IPVM integrator statistics show that
                           while coronavirus has hit integrators hard, it is now
                           bottoming out and starting to...



                           Favorite VSaaS Providers 2020 on Apr 17, 2020
                           VSaaS is starting to become mainstream but who
                           are integrator's favorite? 200+ integrators told us
                           their choices. The top choice? No one. But 4...




                           FDA "Does Not Intend to Object" To Unapproved
                           Fever Detection Cameras on Apr 17, 2020
                           The US FDA has declared it will not go after the
                           many companies marketing unapproved fever
                           detection cameras during the coronavirus public
                           health...


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                               New Products Online Show With 40+ Manufacturers
☰                              - Now ON DEMAND on Apr 16, 2020
                               IPVM had over 2,500 members attend our rst
                               show. Recordings from the full event are posted at
                               the bottom of this report. Watch the New
                               Products...



                               Dynamic vs Static IP Addresses Tutorial on Apr 16,
                               2020
                               While many cameras default to DHCP out of the
                               box, that does not mean you should use it. This
                               may seem basic for some, but those new to the...



                               Convergint Outlook Turns Negative on Apr 16, 2020
                               Convergint's outlook has turned negative,
                               according to bond rater Moody's, released shortly
                               after IPVM's report about Convergint's billion
                               dollars...



                               Avigilon Open Analytics Tested on Apr 16, 2020
                               After years of e ectively closed analytics, Avigilon
                               decided in late 2018 to open up. Now, via ONVIF
                               Pro le T, Avigilon analytics are open and...




                               Vivotek LPR Camera Tested on Apr 15, 2020
                               Vivotek has historically sold license plate capture
                               cameras but not LPR. Now, they have released
                               their own cameras with embedded LPR. How do
                               they...



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